
Jones, J.,
delivered the opinion of the Court.
This was an action of tvespress on the case. The same proceedings, and the same decision was given in the Circuit Court, as in the action of debt depending between the same parties. It is, therefore, unnecessary to state any thing further .thereon, than, that as the same principles are involved in both, the judgment of the Circuit Court, overruling the demurrer herein, and quashing the plaintiff’s writ, is reversed, with costs, and the cause is to be remanded to the Circuit Court, to be further proceeded on therein, not inconsistent with the principles laid down in the opinion in the other case ; and the Circuit Court is directed to sustain the plaintiff’s demurrer to the defendant’s plea.
